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 4

 5   Attorneys for Michael Rothenberg

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 7                                IN THE UNITED STATES DISTRICT COURT
 8                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9                                          OAKLAND DIVISION
10

11    UNITED STATES OF AMERICA,                           Case No.: 4:20-CR-00266-JST

12                   Plaintiff,                           NOTICE OF WITHDRAWAL OF
                                                          MOTION TO CONTINUE SENTENCING
13            v.                                          HEARING
14    MICHAEL ROTHENBERG,                                 Court:            Courtroom 6, 2nd Floor
15                   Defendant.                           Hearing Date:     September 13, 2024
                                                          Hearing Time:     9:30 a.m.
16

17   TO: MATTHEW M. YELOVICH, UNITED STATES ATTORNEY UNDER 28 U.S.C. § 515;
         KYLE F. WALDINGER, ASSISTANT UNITED STATES ATTORNEY;
18       NICHOLAS J. WALSH, ASSISTANT UNITED STATES ATTORNEY; AND
         BENJAMIN K. KLEINMAN, ASSISTANT UNITED STATES ATTORNEY.
19

20         PLEASE TAKE NOTICE that defendant Michael Rothenberg withdraws his previously filed
21   motion for a continuance filed on August 23, 2024, Dkt. 399, in light of the pending Stipulation and
22   [Proposed] Order filed by the parties on August 29, 2024. Dkt. 401.
23

24         Dated: August 29, 2024                        Respectfully submitted,
25
                                                         MOEEL LAH FAKHOURY LLP
26

27                                                       Hanni M. Fakhoury
                                                         Attorneys for Michael Rothenberg
28

     NOTICE OF WITHDRAWL OF MOTION TO CONTINUE SENTENCING HEARING
     United States v. Rothenberg, 4:20-CR-00266-JST
